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                        IN UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

APOTEX, INC.                                        )
                                                    )
                      Plaintiff,                    )
                                                    )
       v.                                           ) Civil Action No. 15-CV-03695
                                                    ) Hon. Sharon Johnson Coleman
DAIICHI SANKYO, INC.,                               )
                                                    )
       and                                          )
                                                    )
DAIICHI SANKYO CO., LTD.                            )
                                                    )
                      Defendants.                   )

                       APOTEX MEMORANDUM IN SUPPORT OF
                       ITS MOTION FOR SUMMARY JUDGMENT

       Declaratory Judgment Plaintiff Apotex, Inc. respectfully moves for summary judgment

pursuant to Rule 56 of the Federal Rules of Civil Procedure.

       A.     Facts as to Which There is No Genuine Dispute.

       U.S. Patent No. 6,878,703 issued on 12 April 2005, and it was assigned to Sankyo

Company, Limited at that time. Ex. A (front page). Sankyo Company, Limited disclaimed

every claim of US 6,878,703 on 11 July 2006. Ex. B.

       Apotex has submitted an Abbreviated New Drug Application (“ANDA”) 204261 seeking

FDA approval for the commercial manufacture, use, importation, offer for sale and sale of a

proposed generic drug product containing 20/12.5 mg, 40/12.5 mg, or 40/25 mg olmesartan

medoxomil/hydrochlorothiazide (“Apotex Olmesartan HCT Product”).

       B.     No Infringement of US 6,878,703.

       US 6,878,703 will not be infringed by the Apotex Olmesartan HCT Product because

every claim of the patent was disclaimed under 35 U.S.C. §253, by submitting the disclaimer to

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the patent office in writing with the required fee. Ex. B. In a parallel action, the Federal Circuit

stated, “[a]s is undisputed here, non-infringement of the ’703 patent follows as a matter of law

from the fact that Daiichi has formally disclaimed it.” Apotex Inc. v. Daiichi Sankyo, Inc. et al.

781 F.3d 1356, 1359 (Fed. Cir. 2015).

       Therefore, Apotex’s Abbreviated New Drug Application (“ANDA”) No. 204261 does

not, and the manufacture, marketing, use, offer for sale, sale or importation of products that are

the subject of Apotex’s ANDA No. 204261 will not, directly infringe or induce or contribute to

the infringement by others of any claim of US 6,878,703.

       C.      The Federal Circuit Decided There is Jurisdiction.

       Defendants previously challenged subject matter jurisdiction in a parallel action in which

all of the relevant facts are identical. See Apotex Inc. v. Daiichi Sankyo, Inc., et al., Case No. 12-

CV-09295. Defendants also have filed a motion to dismiss for lack of subject matter jurisdiction

in this case. (Dkt. 25). In its current motion, Daiichi asserts that the “grounds for this motion

have been previously briefed in a related case between the same parties with the same operative

facts.” (Dkt. 25, p. 1).1 On appeal, subject matter jurisdiction was confirmed in the parallel

action. Apotex Inc. v. Daiichi Sankyo, Inc., 781 F.3d 1356 (Fed. Cir. 2015).2 The Federal

Circuit stated, “we hold that Apotex has alleged facts supporting the conclusion ‘that there is a

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  Daiichi similarly represented that this case and the parallel Apotex Inc. v. Daiichi Sankyo, Inc.,
et al., Case No. 12-CV-09295 involve many of the same issues of fact or law in its Motion For
Reassignment of Related Case No. 15-CV-03695 (Dkt. 80 (at ¶¶2, 4)), which motion was
granted (Dkt. 83).
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  On September 4, 2015, Daiichi filed its Petition for a Writ of Certiorari to the U.S. Supreme
Court. Daiichi Sankyo, Inc., et al. v. Apotex, Inc., Case No. 15-281. For the reasons previously
stated in open court in support of Apotex’s Motion to Lift Stay in the parallel Apotex v. Daiichi
case (Case No. 12-CV-09295) and as stated in Apotex’s Response To Daiichi’s Supplemental
Statement Regarding Apotex’s Motion to Lift Stay (Dkt. 87), which stay the Court lifted pursuant
to its Order dated August 4, 2015 (Case No .12-CV-09295, Dkt. 94), this petition should in no
way delay these proceedings and the issuance of the requested judgment.
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substantial controversy, between parties having adverse legal interests, of sufficient immediacy

and reality to warrant the issuance of a declaratory judgment.’ MedImmune, 549 U.S. at 127,

127 S.Ct. 764 (internal quotation marks and citation omitted).” Apotex, 781 F.3d at 1371. The

Federal Circuit’s jurisdictional ruling fully disposes of Daiichi’s current motion to dismiss for

lack of subject matter jurisdiction (Dkt. 25),which is properly denied for the same reasons

articulated in that decision. In any event, Daiichi’s motion should not delay entry of summary

judgment here.

       There is Personal jurisdiction over the defendants and proper venue in this District. The

defendants waived any possible lack of personal jurisdiction or improper venue defense by

omitting it from their previous Rule 12 motion, Fed.R.Civ.P. 12(h)(1), and expressly stated in

their Limited Answer to the Personal Jurisdiction and Venue Allegations of the Complaint that

they do not contest personal jurisdiction and that venue is proper, Dkt. 26 ¶¶9-14.

       D.        Conclusion.

       For at least the foregoing reasons, Apotex respectfully requests that summary judgment

be granted for Apotex, declaring that U.S. Patent No. 6,878,703 is not, will not, and cannot be

infringed by the filing of Apotex’s ANDA No. 204089, or by the manufacture, marketing, use,

offer for sale, sale or importation of products that are the subject of Apotex’s ANDA No.

204089.




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                                      Respectfully submitted,

                                      HAHN LOESER & PARKS LLP

Date: 15 September 2015               By:    /s/ Sherry L. Rollo_______________
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